       Case 2:17-cr-00021-JCM-EJY            Document 35        Filed 02/14/17      Page 1 of 3



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 6                                UNITED STATES DISTRICT COURT
 7                                        DISTRICT OF NEVADA
 8
 9   UNITED STATES OF AMERICA,                 )
                                               )
10                     Plaintiff,              )                  Case No. 2:17-cr-00021-JCM-GWF
                                               )
11   vs.                                       )                  ORDER
                                               )
12   BARBARA STEPHANIE LIZARDO,                )
                                               )
13                     Defendant.              )
     __________________________________________)
14
15          Presently before the court is Defendant Barbara Lizardo’s Motion for Order Directing the
16   U.S. Marshal to Arrange Transportation to Initial Appearance, Arraignment and Plea Hearing Set
17   for February 15, 2017 (ECF No. 25), filed on February 10, 2017. The government filed a response
18   (ECF No. 33) on February 13, 2017. The court has read and considered the parties’ arguments and
19   for the reasons stated in the government’s response, the court will deny the motion.
20          In addition to filing the motion, on February 13, 2017, Defendant’s attorney contacted
21   Magistrate Judge Hoffman’s chambers via telephone to inquire whether Defendant may appear for
22   her initial appearance, arraignment and plea hearing that is currently set for February 15, 2017, by
23   video conference. Under Federal Rule of Criminal Procedure 10(c), video conference “may be
24   used to arraign a defendant if the defendant consents.” The Advisory Committee Notes to the 2002
25   Amendments to Rule 10 recognize that “in some jurisdictions delays may occur in travel time from
26   one location to another—in some cases requiring either the magistrate judge or the participants to
27   travel long distances[,]” thereby recognizing the benefit of video conference in eliminating delays,
28   reducing expenses, and permitting the arraignment to be conducted sooner. Id. The notes further
       Case 2:17-cr-00021-JCM-EJY            Document 35       Filed 02/14/17      Page 2 of 3



 1   specify as follows:
 2          Although the rule requires the defendant to waive a personal appearance for an
            arraignment, the rule does not require that the waiver for video teleconferencing be
 3          in writing. Nor does it require that the defendant waive that appearance in person, in
            open court. It would normally be sufficient for the defendant to waive an
 4          appearance while participating through a video teleconference.
 5          Given the relatively short amount of time between the date Defendant was served with the
 6   summons and the hearing date, the distance between Las Vegas and Orlando, Florida, where
 7   Defendant resides, as well as the efficiency considerations described in the Advisory Committee
 8   Notes to Rule 10, the court will conduct Defendant’s initial appearance, arraignment and plea
 9   hearing via video conference at a date to be determined. Thus, Defendant’s appearance in Las
10   Vegas on February 15, 2017, is waived. The court will contact the United States District Court for
11   the Middle District of Florida, Orlando Division, to coordinate a mutually-available date for the
12   video conference hearing.
13          Defendant’s attorney, however, must appear in person on February 15, 2017, at 3:00 p.m. in
14   Courtroom 3C, Lloyd D. George Courthouse, and should be prepared to:
15          •       Confirm that Defendant was interviewed by United States Pretrial Services on
16                  February 14, 2017;
17          •       Assist with coordinating Defendant’s appearance at the video conference hearing in
18                  Orlando, Florida, on a date and time to be determined;
19          •       Arrange for Defendant to be in contact with her attorney during the hearing, either in
20                  person in Orlando or by telephone.
21          Attorneys for Defendant and the government should be prepared to discuss dates they are
22   available for the video conference hearing.
23          IT IS THEREFORE ORDERED that Defendant Barbara Lizardo’s Motion for Order
24   Directing the U.S. Marshal to Arrange Transportation to Initial Appearance, Arraignment and Plea
25   Hearing Set for February 15, 2017 (ECF No. 25) is DENIED.
26          IT IS FURTHER ORDERED that Defendant Barbara Lizardo’s appearance at the Initial
27   Appearance, Arraignment and Plea Hearing currently set for February 15, 2017 is WAIVED,
28   though her attorney must attend in person. The court will enter a separate order resetting

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       Case 2:17-cr-00021-JCM-EJY           Document 35       Filed 02/14/17     Page 3 of 3



 1   Defendant’s initial appearance, arraignment and plea hearing once a date has been confirmed.
 2          IT IS FURTHER ORDERED that the summons (ECF No. 22) is VACATED.
 3
 4          DATED: February 14, 2017
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 6                                               ______________________________________
                                                 C.W. Hoffman, Jr.
 7                                               United States Magistrate Judge
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